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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA

ARTHUR BIVINS,                                 Civil Action No.

     Plaintiff,

v.                                             JURY TRIAL DEMANDED

SERTA SIMMONS BEDDING
MANUFACTURING COMPANY,

     Defendant.


                         COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Arthur Bivins (“Plaintiff”), by and through his

undersigned counsel, and files this Complaint for Damages, and shows the Court

as follows:

                        I.      NATURE OF COMPLAINT

                                          1.

        Plaintiff brings this action for damages, liquidated damages, and reasonable

attorney fees for Defendant’s violation of his rights under Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. § 2000e (“Title VII”), and the Civil

Rights Act of 1991, 42 U.S.C. § 1981, et. seq. (“Section 1981”).




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                 II.      ADMINISTRATIVE PROCEDURES

                                         2.

      Plaintiff has fulfilled all conditions necessary to proceed with this cause of

action under Title VII.     Plaintiff filed his charge of discrimination against

Defendant Specialty Appliances, LLC. (“Defendant”) with the EEOC on

September 24, 2020; the EEOC issued its Notice of Right to Sue on May 26, 2021.

                                         3.

      Plaintiff timely filed this action within ninety (90) days of receipt of the

Notice of Right to Sue from the EEOC.

                   III.      JURISDICTION AND VENUE

                                         4.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343, 42 U.S.C. § 1981, and 29 U.S.C. § 261(b)

                                         5.

      Defendant’s headquarters is located within this district. In accordance with

28 U.S.C. § 1391 and 42 U.S.C. §1981, venue is appropriate in this Court.




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                                 IV.        PARTIES

                                            6.

   Plaintiff is an African American male citizen of the United States of America,

and is subject to the jurisdiction of this Court.

                                            7.

       At all times relevant Defendant was qualified and licensed to do business in

Georgia, and at all times material hereto has conducted business within this

District.

                                            8.

       Defendant is now and, at all times relevant hereto, has been a domestic for-

profit corporation engaged in an industry affecting commerce. During all times

relevant hereto, Defendant has employed fifteen (15) or more employees for the

requisite duration under Title VII. Defendant is therefore covered under Title VII

in accordance with 42 U.S.C. § 2000e(b).

                                            9.

       Defendant may be served with process through its registered agent at the

following addresses: Corporation Service Company at 2 Sun Court, Suite 400,

Peachtree Corners, Georgia 30098 and at 2451 Industry Avenue, Doraville,

Georgia 30360


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                     V.       FACTUAL ALLEGATIONS

                                         10.

      Defendant employed Plaintiff as Materials Manager from on or around May

20, 2019, at Defendant’s Grovetown plaint in Grovetown/Augusta, Georgia.

                                         11.

      January 22, 2020 a co-worker, Robert [aka Kevin] Hughes told PC he looks

like Kunta Kenta from the movie ‘ROOTS’. This act was witnessed by co-workers

Steve Farmer and Kristine Hewitt Meredith.

                                         12.

      January 23, 2020, a co-worker, Micah cox Plaintiff a degrading video

                                         13.

      January 29, 2020, co-worker Steve Farmer hand gestured the white power

symbol to Plaintiff and asked Plaintiff if he knew what the symbol mean.

                                         14.

      Plaintiff replied that he did know what it meant and considered it bad and

very disrespectful. Co-worker, Nannette Urbizo was a witness to the hand gesture.

                                         15.

       Ms. Urbizo proceeded to look up on her computer the symbol and

confirmed that the symbol was a white power symbol.


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                                           16.

      February 5, 2020, Plaintiff listened to the video co-worker Micah Cox sent

to him and was very upset at the depiction of black people made and the use of the

word ‘Nigger’ and the ‘Klu Klux Klan’.

                                           17.

        Plaintiff spoke with the plant manager and told him about the incidents and

that he was very upset by the incident

                                           18.

      The plant manager told Plaintiff that he would handle it in the morning at

work. Plaintiff also sent email complaint to Human Resources Representative, Tim

Wynn.

                                           19.

      February 6, 2020, regional resource manager, Tasha Wright, who is

Caucasian, called Plaintiff’s work cell phone to him that she wanted to speak with

him, the next morning, February 7, 2020.




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                                        20.

      On February 7, 2020, Plaintiff spoke with Tasha Wright and explained how

he felt regarding the racial incidents and told her that he wanted to relocate to

another plant if possible.

                                        21.

      Ms. Wright said told Plaintiff that he could relocate and she would notify

him over the weekend regarding next steps.

                                        22.

      On February 11 2020, Plaintiff again complained about the racism to Tim

Wynne via email.

                                        23.

      On February 12, 2020, Plaintiff received a called from Tasha Wright, who

interrogated and accused him of sexual harassment.




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                                          24.

      On February 27, 2020, Plaintiff received another call from Ms. Wright who

informed him that he had been accused of sexual harassment by co-workers,

Nannette Urbizo and Ginger Bell.

                                          25.

      Tim Wynn was originally assigned to investigate the sexual harassment

claims brought by Plaintiff’s co-workers, Nannette Urbizo and Ginger Bell.

                                          26.

      Tim Wynn was removed from the investigation regarding the sexual

harassment claims against Plaintiff.

                                          27.

      On February 28, 2020, Plaintiff complained via email to VP of HR “Dana”

that the sexual harassment allegations were in retaliation for his complaints.

                                          28.

      On March 3, 2020, Plaintiff was put on administrative leave until case was

closed by Ms. Wright.

                                          29.

      On March 9, 2020, PC was terminated for the sexual harassment allegations

against him.


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                                             30.

      In December 2020, Plaintiff and the Agency took participated in mediation

to resolve the matter. However, the mediation was unsuccessful.

                        VI.       CLAIMS FOR RELIEF

COUNT ONE: RACE DISCRIMINATION IN VIOLATION OF TITLE VII

                                             31.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                             32.

      Defendant’s actions in subjecting Plaintiff to ongoing race discrimination

constitute         unlawful          discrimination         on         basis        of

(“Plaintiff’s”) race in violation of Title VII.

                                             33.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and its

discrimination against Plaintiff was undertaken in bad faith.

                                             34.

      The effect of the conduct complained of herein has been to deprive Plaintiff

of equal employment opportunity, and to otherwise adversely affect heis status as

an employee because of his race.




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                                           35.

      As a direct and proximate result of Defendant’s violation of Title VII,

Plaintiff has been made the victim of acts that have adversely affected his

psychological and physical well-being.

                                           36.

      Accordingly, Defendant is liable for the damages Plaintiff has sustained as a

result of Defendant’s unlawful discrimination.


               COUNT TWO: VIOLATION OF 42 U.S.C. § 1981

                                           37.

      Plaintiff re-alleges the preceding paragraphs as if set forth fully herein.

                                           38.

      Defendant subjected Plaintiff to discrimination and harassment on the basis

of his race.

                                           39.

      Defendant’s actions in subjecting Plaintiff to different terms and conditions

of employment constitutes unlawful discrimination on the basis of race in violation

of 42 U.S.C. section 1981.




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                                          40.

        The effect of the conduct was to deprive Plaintiff of economic opportunites,

and otherwise adversely effect Plaintiff’s status as an employee, because of his

race.

                                          41.

        As a direct and proximate result of these actions, Plaintiff has been made a

victim of acts that adversely affected his psychological and physical well being.

                                          42.

        As a direct and proximate result of Defendant’s unlawful employment

practices, Plaintiff has been embarrassed, humiliated and has suffered damage to

his emotional health, and has lost back pay and front pay.

                                          43.

        Defendant has willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s discrimination against Plaintiff was undertaken in bad faith.

                                          44.

        Defendant chose not to take appropriate remedial steps to prevent or correct

the harassment.




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 WHEREFORE, Plaintiff judgment as follows:

 (a)        General damages for mental and emotional suffering caused by

            Defendant’s misconduct;

 (b)        Punitive damages based on Defendant’s willful, malicious,

            intentional,   and    deliberate   acts,   including   ratification,

            condemnation and approval of said acts;

 (c)        Special damages and/or liquidated damages for lost wages and

            benefits and prejudgment interest thereon;

 (d)        Reasonable attorney’s fees and expenses of litigation;

 (e)        Trial by jury as to all issues;

 (f)        Prejudgment interest at the rate allowed by law;

 (g)        Declaratory relief to the effect that Defendant has violated

            Plaintiff’s statutory rights;

 (h)        Injunctive relief of reinstatement, or front pay in lieu thereof,

            and prohibiting Defendant, from further unlawful conduct of

            the type described herein; and

 (i)        All other relief to which she may be entitled.




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 Respectfully submitted the 19th day of August, 2021.

                                /s/ Jeremy Stephens
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